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                                                                             April 26, 2022

   Via ECF

   The Honorable John G. Koeltl
   United States District Judge
   United States District Court for the Southern District of New York
   Daniel Patrick Moynihan United States Courthouse
   500 Pearl Street
   New York, New York 10007

   Re:       Roche Freedman LLP v. Jason Cyrulnik, No. 1:21-cv-1746 (S.D.N.Y.)

   Dear Judge Koeltl:

           We represent Counterclaim-Defendants Kyle Roche, Devin Freedman, Nathan Holcomb,
   Edward Normand, and Amos Friedland (the “Firm Partners”) in this matter and write pursuant to
   the Court’s Individual Practices Rule VI.A.2 to request permission to file under seal Exhibits 1, 2,
   and 4 to the Declaration of Sean Hecker, which is being filed concurrently herewith. Specifically:

         •   Exhibit 1 is Cyrulnik’s Corrected Answer to Plaintiff’s Amended Complaint and
             Counterclaims. The Firm Partners respectfully request that the information contained in
             this document be sealed to the same extent that the Court previously ordered. (See Dkt. No.
             68; see also Dkt. No. 99.)

         •   Exhibit 2 is the Memorandum of Understanding dated December 26, 2019 (the “MOU”),
             and Exhibits B and C thereto. The Firm Partners respectfully request that the information
             contained in the MOU be sealed to the same extent that the Court previously ordered. (See
             Dkt. No. 68.) In addition, for the reasons stated below, the Firm Partners respectfully
             request that the information contained in Exhibit B, which is a client engagement letter,
             and Exhibit C, which sets forth Roche Freedman LLP’s attorney compensation formula,
             be fully sealed.

         •   Exhibit 4 is a confidential settlement communication. For the reasons stated below, the
             Firm Partners respectfully request that information relating to clients and their fee
             arrangements be sealed.
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            In addition, Roche and Freedman respectfully request permission to file the memorandum
    of law in support of their motion to dismiss under seal. In particular, they respectfully request that
    information relating to a client fee arrangement and Roche Freedman LLP’s formula compensation
    be sealed.

    Client Information

            With respect to the client information contained in Exhibits 1, 2, and 4, and in Roche and
    Freedman’s memorandum of law, as the Court has previously found, sealing is appropriate.
    “Notwithstanding the presumption of access under both the common law and the First
    Amendment,” documents may be sealed to the extent “necessary to preserve higher values.”
    Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 124 (2d Cir. 2006). One such “higher value”
    is the “attorney-client privilege.” Delta Air Lines, Inc. v. Bombardier, Inc., 462 F. Supp. 3d 354,
    357 (S.D.N.Y. 2020); see Diversified Grp., Inc. v. Daugerdas, 217 F.R.D. 152, 161-62 (S.D.N.Y.
    2003) (characterizing preservation of privileged information as “precisely the kind of
    countervailing concern that is capable of overriding the general preference for public access to
    judicial records”). Courts have thus approved requests to “keep privileged documents under seal.”
    Moshell v. Sasol Ltd., 2021 WL 67107, at *1-2 (S.D.N.Y. Jan. 4, 2021); see also Diversified Grp.,
    217 F.R.D. at 162 (ordering redaction of privileged information).

            Here, the Firm Partners requests that the Court seal information that relates to specific firm
    clients and their fee arrangements. Under Florida law—which Cyrulnik argues governs this
    action—such information is privileged and confidential. See Tumelaire v. Naples Estates
    Homeowners Ass’n, Inc., 137 So. 3d 596, 598-99 (Fla. 2d DCA 2014) (citing Fla. Stat. §90.502(2))
    (“As to the information on the fee arrangement between Tumelaire and her attorney, this
    information is indeed protected by attorney-client privilege”); Corry v. Meggs, 498 So. 2d 508,
    511 (Fla. 1st DCA 1986) (“The identity of a client and payment of a fee appear to be within the
    ambit of the statutory privilege and are not expressly or impliedly excluded exceptions.”). Indeed,
    the Firm and its attorneys have an obligation to maintain information relating to clients as
    confidential, including details regarding ongoing litigation pursued on behalf of firm clients. See,
    e.g., Elkind v. Bennett, 958 So. 2d 1088, 1091 (Fla. 4th DCA 2007) (discussing duty of attorney to
    maintain client information as confidential and noting that disclosure of confidential information
    from a client may expose attorney to liability); Zarco Supply Co. v. Bonnell, 658 So. 2d 151, 153
    (Fla. 1st DCA 1995) (“attorneys owe a duty of confidentiality and loyalty to all their clients,
    including present and former co-clients”).

    Competitive Information

            With respect to Roche Freedman LLP’s compensation formula described in Exhibit 2 and
    in Roche and Freedman’s memorandum of law, courts recognize that sealing may be proper where
    “public disclosure” of “information ‘might harm a litigant’s competitive standing.’” Oliver
    Wyman, Inc. v. Eielson, 282 F. Supp. 3d 684, 706 (S.D.N.Y. 2017) (quoting In re Parmalat
    Securities Litig., 258 F.R.D. 236, 244 (S.D.N.Y. 2009)). For example, in Oliver Wyman, the court
    sealed information relating to partner compensation, where the proponent of sealing argued that
    “public disclosure would result in great harm, since its competitors would know the average
    compensation of [firm] partners and be able to more efficiently hire them away.” Id.; see also
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     United States v. Ahmed, 2018 WL 4266079, at *3 (D. Conn. Sept. 6, 2018) (sealing information
     relating to “compensation and bonus structure”). That is the case here. Moreover, public disclosure
     of the Firm’s formula compensation would further harm the Firm because it would help other law
     firms better compete with the Firm in recruiting attorneys in the lateral market.

            Thank you for your consideration of this request.

                                                          Respectfully,


                                                          Sean Hecker

     cc:    Counsel of Record (via ECF)
